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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )                    8:09CR26
                     Plaintiff,            )
                                           )
              V.                           )                     ORDER
                                           )
MICHAEL A. PERKINS,                        )
                                           )
                     Defendant.            )
                                           )


      This matter is before the court on the defendant’s amended motion to vacate under

28 U.S.C. § 2255. Filing No. 99 and Filing No. 103. Under Rule 4 of the Rules Governing

Section 2255 Proceedings for the United States District Courts, the court must perform an

initial review of the defendant’s § 2255 motion. See Rules Governing Section 2255

Proceedings for the United States District Courts, Rule 4(b) (2011 Ed.). The rules provide

that unless “it plainly appears from the motion, any attached exhibits, and the record of

prior proceedings that the moving party is not entitled to relief,” the court must order the

United States Attorney to respond to the motion. Id.

         The defendant entered a plea of guilty to a violation of 21 U.S.C. § 846 for

conspiracy (crack cocaine). Filing No. 91 (text minute entry).        The defendant was

sentenced to 120 months of imprisonment. Filing No. 94. In his § 2255 motion, the

defendant alleges that he received ineffective assistance of counsel due to counsel’s

failure to file a notice of appeal and other motions, explain the consequences of entering

an open guilty plea or how the waiver affected his substantial guaranteed constitutional

rights, and expose the lack of factual basis for the plea bargain. Filing No. 103.
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         On initial review, the court finds that it does not plainly appear that the defendant

is entitled to no relief, and that the government should be required to answer. On receipt

of the government's answer, the court will determine (a) whether to order the parties to

submit briefs on the merits, so that the defendant’s claims may be resolved on the basis

of the record and briefs, or (b) whether an evidentiary hearing is required. See Rules

Governing Section 2255 Proceedings for the United States District Courts, Rule 8(a), (2011

Ed.).

        THEREFORE, IT IS ORDERED:

        1. On initial review, the court finds that summary dismissal is not appropriate.

        2. The United States shall file an answer to the defendant's § 2255 and amended

§ 2255 motions within 21 days of the date of this order.

        3. Defendant’s motion to appoint counsel, Filing No. 100; motion for production of

records and/or transcripts, Filing No. 102; motion for discovery, Filing No. 104; and motion

for speedy adjudication, Filing No. 105 shall be held in abeyance until the United States

answers the defendant’s § 2255 motion.

        4. Defendant’s motion to amend, Filing No. 103, is granted instanter.

        DATED this 21st day of June, 2011.

                                                    BY THE COURT:



                                                    s/ Joseph F. Bataillon
                                                    Chief United States District Judge

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